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                                  Exhibit B

                            Master Lease Agreement
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                                 Exhibit C

                               List of Vehicles
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  Vehicle Year   Vehicle Make   Vehicle Model              VIN
     2019            Ford        Transit-150        1FTYE1YM9KKB27502
     2019            Ford        Transit-150        1FTYE1YM0KKB27503
     2019            Ford        Transit-150        1FTYE1YM7KKB27501
     2019            Ford        Transit-150        1FTYE1YM5KKB27500
     2019            Ford           F-150           1FTMF1CB6KKD75725
